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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPE | JAN 13 2993
NORTHERN DIVISION L.
ARTHUR JOHNSTON
: BY. DEPUTY
SONIA SMITH PLAINTIFF
VS. CIVIL ACTION NO. 3:20-cv-00244-DPJ-FKB
MISSISSIPPI EMERGENCY
MANAGEMENT AGENCY DEFENDANT
VERDICT FORM

Consistent with all instructions you have received, please answer the following
questions:

1. Do you find that Plaintiff Sonia Smith has proven by a preponderance of
the evidence that Defendant Mississippi Emergency Management Agency terminated -

her employment in retaliation for filing a charge of discrimination with the EEOC?

Answer “Yes” or “No.” N 0

If your answer is “No,” do not answer Question No. 2. If your answer is “Yes,”
go to the next question.

2. Please state in dollars and cents the damages you award Plaintiff

Sonia Smith: §

Date: ilin/22

Foreperson--, , ook =

